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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Robert Williams,                                  No. CV-21-01430-PHX-JJT
10                  Plaintiff,                         ORDER
11   v.
12   Wendy’s Properties LLC,
13                  Defendant.
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16          Upon review of the parties’ Joint Stipulation of Dismissal (Doc. 21), and good cause
17   appearing,
18          IT IS ORDERED granting the Stipulation (Doc. 21). The above-entitled matter is
19   hereby dismissed with prejudice, the parties to bear their own costs and attorneys’ fees.
20          IT IS FURTHER ORDERED directing the Clerk to close this matter.
21          Dated this 22nd day of February, 2022.
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23                                         Honorable John J. Tuchi
                                           United States District Judge
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